 Case: 4:17-cr-00051-RLW Doc. #: 72 Filed: 01/29/21 Page: 1 of 6 PageID #: 234




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )
                                    )                Case No. 4:17-CR-00051-RLW
      v.                            )
                                    )
                                    )
TRAVION J. BROWN,                   )
                                    )
            Defendant.              )
____________________________________)


      PLAINTIFF UNITED STATES OF AMERICA’S MOTION TO AUTHORIZE
                 PAYMENT FROM INMATE TRUST ACCOUNT

       COMES NOW the Plaintiff, UNITED STATES OF AMERICA, by and through its

attorneys, Sayler A. Fleming, United States Attorney for the Eastern District of Missouri, and

Anthony J. Debre, Assistant United States Attorney for said District, pursuant to 18 U.S.C. §§

3613(a) and 3664(n), requests this Court enter an Order authorizing the Bureau of Prisons to turn

over to the Clerk of the Court all funds held in the inmate trust account of Defendant TRAVION

J. BROWN, Reg. No. 46541-044, as payment toward the criminal monetary penalties imposed in

this case. In support of this motion, the government states as follows:

       1.      On December 6, 2017, Defendant pleaded guilty to one count of carjacking in

violation of 18 U.S.C. § 2119 and 18 U.S.C. § 2119(1); one count of attempted carjacking in

violation of 18 U.S.C. § 2119 and 18 U.S.C. § 2119(1); one count of attempted carjacking with

serious bodily injury in violation of 18 U.S.C. § 2119 and 18 U.S.C. § 2119(2); and one count of

discharging a firearm in furtherance of a crime of violence in violation of 18 U.S.C. § 924(c)(1)(A)

and 18 U.S.C. § 924(c)(1)(A)(iii). Doc. 69 at pgs. 1-2.



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 Case: 4:17-cr-00051-RLW Doc. #: 72 Filed: 01/29/21 Page: 2 of 6 PageID #: 235




       2.      On May 4, 2018, this Court sentenced Defendant to a total of 300 months

imprisonment, and 3 years supervised release. Id. at pgs. 3-4. This Court also ordered Defendant

pay $5,400.00 in restitution and a special assessment of $400.00. Id. at pg. 7. As of the date of

this filing, Defendant has paid $317.92 toward the total balance of this debt.

       3.      Defendant remains in federal custody serving his sentence of imprisonment.

According to the U.S. Bureau of Prison’s Inmate Locator System, Defendant is presently

incarcerated at Manchester FCI in Manchester, Kentucky. He is scheduled to be released from

federal custody on March 20, 2038.

       4.      Pursuant to Title II, Subtitle B, of the Coronavirus Aid, Relief, and Economic

Security Act (the “CARES Act”), Pub. L. 116-136 (2020), individuals with an adjusted gross

income in 2019 of $75,000 or less were eligible to receive $1,200 tax credits from the Treasury

Department. On October 14, 2020, the U.S. District Court for the Northern District of California

ruled that the Treasury Department wrongfully withheld CARES Act tax credits from incarcerated

individuals. See Scholl v. Mnuchin, 2020 WL 6065059 (N.D. Cal. Oct. 14, 2020). As a result, the

Treasury Department has issued tax credit payments to incarcerated individuals, including

Defendant.

       5.      The Treasury Department remitted the tax credit payment to Defendant’s inmate

trust account maintained by the Bureau of Prisons (“BOP”).1 At the request of the U.S. Attorney’s

Office, Defendant’s inmate account has been encumbered against further transfer, withdrawal, or




       1
         The purpose of inmate trust accounts or commissary accounts is to allow the BOP to
maintain inmates’ monies while they are incarcerated, including monies received by the inmate
from prison employment and outside sources. 28 C.F.R. §§ 506.1, 545.11. Family, friends, or
other sources must deposit funds for the benefit of the inmate into these accounts. Id. Deposits
intended for the inmate’s account must be mailed directly to the BOP’s centralized commissary
account. 28 C.F.R. § 540.23.


                                                     2
 Case: 4:17-cr-00051-RLW Doc. #: 72 Filed: 01/29/21 Page: 3 of 6 PageID #: 236




assignment. On January 26, 2021, the BOP notified the U.S. Attorney’s Office that it had

encumbered the funds in Defendant’s inmate trust account.

        6.      Title 18, Section 3613 sets forth the procedures for the United States to enforce

criminal monetary penalties, including criminal restitution and fines. Specifically, a sentence

including criminal restitution or a fine acts as a lien in favor of the United States on all property

and rights to property of the person fined. 18 U.S.C. § 3613(c). Thus, the United States’ lien

attaches to Defendant’s interest in funds held by the BOP in his inmate trust account. See also, 18

U.S.C. § 3613(a) (government enforces restitution against all property and rights to property of

the defendant); 18 U.S.C § 3664(m) (government may use all available and reasonable means to

collect restitution).

        7.      Title 18, Section 3663A, requires Defendant’s resources received from any source

during his term of incarceration be applied to his outstanding criminal monetary penalties.

Specifically, 18 U.S.C. § 3664(n) provides that, “[i]f a person obligated to provide restitution, or

pay a fine, receives substantial resources from any source, including inheritance, settlement, or

other judgment, during a period of incarceration, such person shall be required to apply the value

of such resources to any restitution or fine still owed” (emphasis added).

        8.       The United States submits that an order authorizing the turnover of Defendant’s

inmate trust account is appropriate here and the United States is not required to rely upon other

formal collection remedies such as garnishment2 of or execution upon property to obtain these

funds. The funds at issue currently are in the BOP’s possession and the United States has a valid

lien over this property.




        2
         Congress specifically exempted the $1,200 tax credits from garnishment for reasons other
than arrearage on unpaid child support.


                                                     3
 Case: 4:17-cr-00051-RLW Doc. #: 72 Filed: 01/29/21 Page: 4 of 6 PageID #: 237




       9.      Furthermore, because the property is cash, it does not fall within any applicable

categories of exempt property that a defendant may claim in a criminal case. 18 U.S.C. §

3613(a)(1) (setting forth the applicable IRS property exemptions for criminal cases). For criminal

debts such as fines and restitution, federal law provides that the only categories of exempt property

are: (1) wearing apparel and school books; (2) fuel, provisions, furniture, and personal effects; (3)

books and tools of a trade, business, or profession; (4) unemployment benefits; (5) undelivered

mail; (6) annuity or pension payments under certain, specified federal statutes; (7) workmen’s

compensation; (8) judgments for support of minor children; (9) certain service-connected disability

payments; and (10) assistance under the Job Training Partnership Act. 18 U.S.C. § 3613(a)(1).

Accordingly, Defendant cannot properly claim that the funds held in his inmate trust account are

exempt from payment of a fine.3

       10.     Defendant is required to notify this Court and the Attorney General of any material

change in his “economic circumstances” that might affect Defendant’s ability to pay restitution.

18 U.S.C. § 3664(k). “Upon receipt of the notification, the court may, on its own motion, or the

motion of any party, including the victim, adjust the payment schedule, or require immediate

payment in full, as the interests of justice require.” Id. The receipt of over $1,200 constitutes a

material change in Defendant’s “economic circumstances” that affects his ability to pay restitution

under section 3664(k).

       11.     By this motion, the United States seeks entry of an order authorizing the BOP to

turnover to the Clerk of the Court all funds in Defendant’s inmate trust account, including those




       3
          By statute, challenges to a garnishment of the defendant’s property are limited to: (1) the
probable validity of any claim of exemption; and (2) compliance with any statutory requirements
for the issuance of the post-judgment remedy granted. 28 U.S.C § 3202(d).

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 Case: 4:17-cr-00051-RLW Doc. #: 72 Filed: 01/29/21 Page: 5 of 6 PageID #: 238




funds received from the Treasury Department under the CARES Act, so the funds can be applied

toward Defendant’s outstanding criminal monetary penalties in this case.

          12.    The United States is serving Defendant with a copy of this motion by first class

mail, postage prepaid, and he may object to the intended use of his property. The United States is

not aware of any other party who may claim an interest in this property.

          13.    The United States submits that the requested relief is reasonable and appropriate in

this instance where Defendant has accumulated significant funds in his inmate trust account. Also,

without this relief, the BOP will be required to allow Defendant access to these funds, allowing

him – or others – the opportunity to dissipate, conceal, or transfer the funds without first paying

restitution.

          WHEREFORE, for the reasons explained above, the United States requests that this Court

grant its motion and enter an order authorizing the BOP to turnover to the Clerk of the Court all

funds in Defendant’s inmate trust account so the funds can be applied toward Defendant’s

outstanding criminal monetary penalties in this case, and any further relief this Court deems

proper.

DATED January 29, 2021                         Respectfully submitted,


                                               SAYLER A. FLEMING
                                               United States Attorney


                                               /s/ Anthony J. Debre
                                               ANTHONY J. DEBRE #67612 MO
                                               Assistant United States Attorney
                                               Thomas F. Eagleton U.S. Courthouse
                                               111 South Tenth Street, 20th Floor
                                               St. Louis, Missouri 63102
                                               (314) 539-2200 office
                                               (314) 539-2196 fax
                                               anthony.debre@usdoj.gov



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 Case: 4:17-cr-00051-RLW Doc. #: 72 Filed: 01/29/21 Page: 6 of 6 PageID #: 239




                                     Certificate of Service

       The undersigned hereby certifies that on January 29, 2021, a true and accurate copy of the

foregoing was served via U.S. Mail, postage prepaid, to the following:

Travion J. Brown
Reg. No. 46541-044
FCI Manchester
Federal Correctional Institution
P.O. Box 4000
Manchester, KY 40962




                                                    /s/ Anthony J. Debre
                                                    Anthony J. Debre
                                                    Assistant United States Attorney




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